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UNITED STATES DISTRIC'I` COUR'I`
N()RTHERN DISTRICT OF ILLINOIS

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THOMAS G. BRUTON
CLERK, U.S. D|STR|CT COURT

 

 

 

(Enter above the full name
of the plaintiff or plaintiffs in

this action) 1:17_€\/_05776
vs. i\j/|l;dg§::tc?r¥] Feinerman
"a 9 Ud e Micha
ma F\RD;'Q;) RC.~`L)D\'¢ »P C'. 3‘¢‘€§& PC1 g el T' Mason

 

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§> €%\B: § 4a w w a §
(Enter above the full name of ALL
defendants in this action. Do not
use "et a!.")

 

 

 

CHECK ONE ONL`Y:

\Z COM'PLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, eounty, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if`known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER T 0 ”INSTRUCTIONS FOR
FILING. " FOLLOW THESE INSTRUCTIONS CAREFULLY.

 

 

II.

.Case: 1:17-Cv-05776 Document #: 1 Filed: 08/07/17 Page 2 of 29 Page|D #:2

Plaintiff(s):

A. Name: D ASRP\Z\\ g ["\`i`\g

 

B. List all aiiases:
C, Prisoner identification number: ` g " 3 qu"i.
D. Plaee ofpresentconiinement: S“T lx`T`&@\\l'-L, C 1 (~ »

E. Address: D(:J%GA \\?_ jill ‘* @-»-_\ :l:.li (_>C)"l`Sl-i

 

([f`there is more than one plaintiff then each plaintiff must list his or her name_ aliases. [.D.
numben place of confinement. and current address according to the above formal on a
separate sheet of paper.}

Defendant(s):

(In A belovv. place the full name ofthe first defendant in the first bianlt. his or her official
position in the second blank. and his or her place of employment in the third hlan|<. Space
for two additional defendants is provided in B and C.)

A. Dei`endant: <X*tc_z_)t`,\ra.p ii'_ id z/:._X

 

Title: w a i"i» QQJ\.;-r\.i?\ M/¢\,_o:`$§r¢wattj CLH-\PLM,
Place of Ernployrnent; c£>"( r\T C'J'» ll 5- C . § _

 

B. oefendam; Q\P~oo\{ S'_ i>¥~'."`-s‘t <¢'JF\

Title: L-»\_) i\?\ 911 ll~.)

P|aee ol"Emplo_vment: l 'C NT€_.\_>'.U$_ C ~ C »
C. Dei`endant: show t'~..»".\ iV\ 5 %§L'

ma than ed avc-ce ;:» €e'-<:€*?`\

Place of Employment: 37 1“-_¢`<;: ul\\i § »C ,

(lf you have more than three defendants then all additional defendants must he listed
according to the above format on a separate sheet of paper.)

2 R::vcscd \`J-'l[‘n]'i‘

 

 

 

 

`, Case:t&:/-.l?-o:v-OB??§ Doc£nt #: 1 Fl|ed: 08/07/17 Page 3 of 29 Page|D #:3

 

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QC)…O R. ‘€>Mbs.<_)ti\)

 

 

.Case: 1:17-Cv-05776 Document #: 1 Filed: 08/07/17 Page 4 of 29 Page|D #:4

III.

List ALL lawsuits you (and your co-plaintiffs. if any) have filed in any state or federal
court in the United States:

A.

Name ofcase and docket number: l 5 C ¢"l 3 Q> l

 

Approximate 'date offiling lawsuit: 5/ !L'~)

List all plaintiffs (if you had co-p|aintift`s), including an_v aliases:
O£l(-‘\Rf:\\ Y-`- A=.Q.

 

 

List all defendants: t-`\ f\§ o'?\ I"~`\C Cts§t`ievi‘:j f Y>Q`Y)Yd‘j WJ\TT .'"':"§,»L'
`DQ. to l\Rd'. de ©Q. ells‘l\t§'l `

 

 

Court in which the lawsuit was filed (iffederal court. name the district; ifstate court

namethecounty): § g:i¢zp:@ ng_g §)!M gm»_`i_; §§ gsw \"\._m;wck
1a \_l.'s.S?

Name ofjudge to whom case was assigned: Q wastes F~;-sl>~%‘~/ rn

w ex mei-am o._ft)

 

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Disposition of` this case ('l`or example: Was the case dismissed? Was it appealed?
15 ii still penaing?); ‘?aoc>'.¢a>ts.

 

 

Approximate date o'l` disposition: {`Lac'm&_..._-\_Q

IF YOU HAVE FILEI} MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING TH[S SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVlOUSLY FILED._
YOU WILL NOT BE EXCUSEI) FROM FILLING OUT THIS SEC'I`ION COMPLETELY._
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

3 Rcv:scd l.J."IUlJ?

 

 

.Case: 1:17-cv-05776 Document #: 1 Filed: 08/07/17 Page 5 of 29 Page|D #:5

V. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments Cite
no cases or statutes.

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VI. The plaintiff demands that the case be tried by ajury. g YES m NO

 

CERTIFICATION

By signing this Comp|aint, l certify that the facts stated in this
Cornplaint are true to the best of my knowledge, information and
belief. l understand that if this certification is not correct, l may be
subject to sanctions by the Court.

signedrhis l\ dayor push ,20 \]

 

Dm~w€s;

(Signature of plaintiff or`plaintiffs)

Dt\<?\‘€.e \\ § P\~ 331

(Print name)

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(I.D. Number)
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Brooe Fiauner
Governor

John Ba|dwin
Acting Director

 

The illinois Department of Corrections

 

1301 Concordia Court, P.O. Box 19277 ' Springfie|d. iL 62794-9277 ’ (2‘| 7] 558-2200 TDD: (800] 526-0844

Oftender Narne: ;2';":'/_//:. _&£f/`C/// Date: ariz iii 7
Flegister # /§§;7/615}‘:2/
Facility: __/_{/%A[f/LJM

Thls is in response to your grievance received on 7£ ZL/é . This office has determined the issue will be addressed without
a fon‘nai hearing A review of the Grievance_ Grievance OfticerrCAO response to the grievance has been conductedA For a
grievance that is direct review by t`ne r'~\F'\E), a review ot the Gnevance has been Conducted.

Your issue regarding: Grievance dated: if LZ/é Grievance Number: MQ Griev umw

 

 

 

 

 

O Transter denied by the Faoitity or Transter Coordinator O Comrnissary
0 Dietary 0 Trust Fund
0 Personai Property 0 Conditions {ce|t conditions, cleaning supplies)
O Nlaiirooth'ub|ications 0 Disoip|inary Fieport dated
incident ri
§§ Assignment {job . G'PM ff QQZ MQf/-' 5
//7 Ce// ,C“~/S 7 O other

Based on a review of all available information, this office has determined your grievance to be:
0 Aftin'ned_ Warden is advised to provide a 0 Denied as the facility is following the procedures

written response of corrective action to this office by outlined in DFt525,

l 0 Denied as Ce|| AssignrnenttHousing is consistent with

O Denied, in accordance with DFiSOdF_, this is an the Department‘s determination of the appropriate

administrative decision. Operational capacity ot each tacitlty.
0 Denied_ this office finds the issue was appropriately O Denied as procedures were followed in accordance with

addressed by the facility Administratlon. DFl 420 tor removalrdenial ot an offender irornr'tor an

_ assignment

O Denced in accordance with ADOS.03.103A (Monetary

Con"lpensation for inmate Assignments) O Denied as this office finds no violation ot the offender’s

_ _ _ _ due process in accordance with DFi504.BC and
O D@med. as the fransfer_demalby the taclllwr'if_?O fm osso4.sc_ rhis since is reasonably satisfied the
Wa$ reviewed 'i" accordance W'th offender committed the offense cited in the report

transfer procedures and is an administrative decision

  

Other. iii/bk _ l ll I!_/ _I //__'

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ebbie Knauer John Fi Baldwin r-`"“
Admlnistrative Fteview anrd Actlng Dlrector
CC: Warden, giff:§fzz£{¢& Correctiona| Center
Fdjf_ .Fiegister No.

 

Mfssion: To serve justice in fiifnois and increase pub.-‘."c safety by promoting positive change in
offender behavior, operating successful reentry programs and reducing victimrzation,

WWW. iHiin ois.go v/idoc

  

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Bruoe Fiauner
Governor

  

The illinois Department of Corrections

 

 
 

John Ba|dwin
Acting Director

1301 Cor‘lcOrdia COurt, P O. BOX 19277' Springfie|d |L 627§4-§277° (217} 558- 2200 TDD (BOO) 526- 0844

OftenderName: 340/j /)(Z/‘/"éi// Date: 322 § 1253

Hegister# _/3 ?r-,?(?JC/:§/
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Fesilily: ul%/S/////'-Gr

This is in response to your grievance received on /E’// ‘/// bar . This office has determined the issue will be addressed without

a format hearing A review of the Grievance. Grievance OflicerlCAO response to the grievance has been conducted For a
grievance that' rs direct review by the AHE., a review of the Grlev;lnce has been conducted

 

 

 

 

.§r"/r/ /r _‘r" / . .
Your issue regarding: Grievance dated: /c"` }-'f//S/ Grievance Number: 3 ‘;i;?/ Griev Loc: f .
0 Transfer denied by the Faoi|ity or Transfer Coordinator 0 Cornmissary
O Dietary 0 Trust Fund
O Persona| F'roperty O Conditions {ce|| conditionsl cleaning supplies]
0 Mai|roomlF’ublications Discip|inary Fleport_ dated
O incident # _

Assignment (job, ce||) 0
Other

 

Based on a review of all available information, this office has determined your grievance to be:

O ernrmed, warden is advised lo provide s O Denied as the reality is renoan the procedures
written response of corrective action to this office by outlined in DR§25.
1 O Denied as Ce|| AssignmentlHousing is consistent with
O Denied, in accordance with DFt504F, this is an the Department's determination of the appropriate
administrative decision. Operationa| capacity of each facility
O Denied, this office finds the issue was appropriately O Denied as procedures were followed in accordance with
addressed by the facility Adrninistration. Di`-`i 420 for remova|ldenia| of an offender fromlfor an
_ _ assignment
O Denled tn accordance with ADOE,03.103A (Monetary -
Compensation for inmate Assignments) Denied as this office finds no violation of the offender
_ _ - __ due process in accordance with DFl504.80 and
O Denled, 35 the transfer denlai by the faclilWFT{-"O D"' DR504.30. This office is reasonably satisfied the
Wac rcV'chd "" acccldancc Wl"" offender committed the offense cited in the report

transfer procedures and is an administrative decision

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De b'bi'e Knauer "" John Ft.`~Ea‘|cwin ,}_;
Administrative Fteview Board Acting Diractor
cc; warden, 442-447 jus/y correctional center __ _ _ 3/)40 /(~i’
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Mlsslon: `l`o serve justice in illinois and increase public safety by promotlng positive change ln
offender behavior, operating successful reentry programsl and reducing vlctr`mr`zatlon.

www. llllnols. go v/ldoc

 

 

 

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Bruce Ra\]ne'r'
:17-c\/"J|:i7filqji@ument #: 1 Filed: 08/07/17 Page 16 of 29 Pa@>i~lsr#o_t€

Department of
Corrections

John R. Baidwin
noting Director

    
    

Stateviile Correctional Center
Route 53, P.O. Box 112 Telephone: (815) 727 -3607
Joiiet, iL 60434 TDD: (800) 526-0844

Septernber 3, 2015

|nmate: Darre|i Fair- 832994» F204

RE: inmate issues- investigative Status

Dear Nir. Fair; ' ""‘

This is in response to your recent communication to me regarding an issue or concern
that you expressed Your concerns are being reviewed and referred if necessary to the
appropriate individual for resolution

|f there is a need for additional information or a formal response you will be notiHed in
writing | appreciate that you took the time to communicate your concerns and

observations to me.

| trust this is responsive to your request

Sincere|y

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cho|as Lamb
Assistant Warden of Operations

NLrjel

 

 

 

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.Case: 1:17-cv-05776 Document #: 1 Filed: 08/07/17 Page 17 of 29 Page|D #:17

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ZO.HLLIN®IS AD`MHNHS.T - TiW-E ;CSDEDIE-

 

- -€H. ll-a'_§§,\€.§'lid
SUBCHAPTIER e

 

conducted within 14 days alter hii__tiali placement ofan adult efender in

investigative status or within 3 days alter initial placement of'
in investigative status, whenever possible

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6)

juvenile offender

The Reviewing Gt`ficer shall recommend whether to cc minus placement
of the offender in investigative status "Arncrig` other ` ' tters`,,fact`ors listed
in Sect_ion 504 40(21) may be considered The Chi.ef A mjnistrative
Gt`l`lcer shall make the final detenni`rlation.

The offender shall be informed of the decision and the decision shall 'oe
documented tn Writi`n`g

The offender rhay be detained in investigative status for up to 30 days for
adults and up to 5 days forjuveniles " '

 

lf the investigation does not indicate that tile offeru:ler ay be guilty of any
disciplinary offense placement in investigative status hall be terminated
and the`report shall be expunged from the offender’s rjcords. A copy
shall be maintained in an expungement file. This deci ion shall be made
by the Chief,‘Adniinistrat,it/\e`in`icer,an_d shall bc.docudiented in Writing.

 
  
    
  
  

lt`, as a result of the investigation it is necessary to am nd or modify the
original charges the offender shall be issued a revised isciplinsry report

Upon completion of the investigation _t_he offender sh l l_ appear before the
readjustment Committee for a hearing on the drsclphn ` ` _`__ report unless the
report has been expunged '

vithin 30 days for
f)r_gency, the Chief

in the event.that.-an investigation cannot be completed
adults or 5 days for juveniles ...due_ to an institutional _,
Adrninistrative Officer may personally authorize in'-' "`ting,' an extension
ofup to 30 days placement in confinement for adults _ d up to 5 days

placement 111 confinement for juveniles pending invest alion. As used 211
this Section an institutional emergency includes riots, trikes lockdowns,
and natural disasters

 

The _Dire_c_tor_ may personally authorize in _v_v_ri__ting, ad d;tional extensions of

up to 30 days each for adults i`_f an institutional emerge cy prevents
completion of the mvcstlgahon wlthm 60 days The_ jaffe crider shali' ce
inform ed of the decision in wntmg |

The Reviewing Officcr shall review each disciplinary reports d determine
1 vilether:

Pan_e 8 of 52 j

 

 

 

1 Case: 1:17-Cv-05776 Document #: 1 Filed: 08/07/17 Page 18 of 29 Page|D #:18.

’ l

111 resistors spMinisrnAriva- noon t;H. t.. sac.soi
' sneen.l.m“nit a

than 6 days,_ after the commission of an offense or the discovery thereof unless the
offender` is unavailable or_ unable to participate in the proceeding

i`Source: Amend ed at 27 lll. Reg. 6214, effective May l, 2003))
§eeitioin §lld.éltl` llempot‘at'iy Confi"neinent

a) t he shift supewisorshall determine whether or not it is necessary to place the
offender 111 investigative status or in temporary confinement status pending a
disciplinary hearing or a determination whether o_r_. not to issue a disciplinary or
investigative report in accordance with Sect_ion 504 30. The Chief Administrative
0 l‘l`i:er shall also have the authority to release the offender from temporary
confinement 'I_'he decision to place an offender 111 temporary confinement may he
based, among other matters on:

 

The aggressiveness_of the offender;_

The threzit` p`o;sedltd'tl_ie"safety and security "of'tlie facility or any p€rSOH;

 

_ The need to restnct the offender s access to general population to protect
l the individual fiorh` injii‘ry otto conduct the investigation; or

,_“__ ._ _' > .- _-'_:_ _ _'..;'4, _. .. _ __
ine seriousness of the offense

  

bill _ 1__:j1_1_1__.‘_1'1_e11il_e offender shall not _be placed in temporary confinement status pending a
` d sciplinary hearing for more than 4 _il`a`ys unless the individual is in investigative

stus

(Source: Amen__ ed at 231 ll_l. Reg. 6214,_e_f_"_fective May l,_2003)

  
 
  
   

S`ectiioim §®4§@'-' _ _ emei_iii`ol" ll:lsellt'mlla'l'l§’hmeperts
__ _'-eChief Administrative Offic`e'r of each facility shall designate one or more
e\iewing'Off`cei‘s

~*1)

porary confinement within 3 days after such placement, whenever possible
` ` e“ase ‘l_“rd__: dr placement in temporary confinement Among
_c_tor_`s listed 1`1_'11 Sectio'_n 504 40(11) may be consideredl lf a
disciplinary or investigative report lies not been written within 3 days after
r acement in temporary confinement, the Reviewin g foicer shall inform the

_ hief Administrative Officer.

b) `l;_l_e____ Reviewing Officer shall review the decision to place an offender 111

 

c] 1411 offender who receives an investigative report shall be interviewed by the
lleviewing Officer in order to permit the offender an opportunity to present his or

blast views regarding placement in investigative status The interview shall be
Page ‘l' of 52

f 1

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iLLINOiS

l _ , . ‘CaSe: 1:17-Cv-05776 Docum EFBH igjlrtggbg§éggggg Page 19 of 29 PagelD #:19

  
   
 

 

 

 

Offender Discip|inary Heport i
,\,:P_P__; ' ` . ` : '. ._ _‘
T E of ne mt stateville Cc Da“°" Tm'mm`
[I Discipiinary § investigative Faciiitv
Offender t\lame: FAIR. DARRELL _ lD #: BB'EQQJ,
Offense information:
l:] a.m_
Observation Date: ?rZ-MEO 15 Approximate `I`ime: 3100 iii o_m. Location: lNVESTlGATIONS

O"F-`"SE s 1 DF' 504= sine mvesrioarion sTATuS

Observation: On the above date and approximate time, inmate FA|R, DARRELL 532994 is being placed under investigation status

/

,

_- __ End of report.

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` F “‘1 _,
.. “\ ‘JL'J ;'
__ _{_ l __,_,
_ - _ 'Sq ': `- _ `l: - i
M ' '--~___-- ____-____________ ___ _-_---~_e_-»*-__ _-==+'»'=e=-_=-_-_

 

 

 

 

 

 

 

 

 

Witness(es}:
l:l Check ii Otlender Discip|inary Continuation Pege_ DOC 0313. is attached to describe additional facts, observations or witnesses
\/ ";` go ."‘ ij a,l'rl.
W SHEVL|N iO'F ll ' .-1”__-*--‘- 71'24»"20|5 S:Ot'l E p_m.
Fteporting Employee [Print Name} Badge lt Signature Date Time
. -- ' n . - Discig|inary Action:
'Shift Fleview: l:lTernporary Coniine_rnent Mestigative Status ' '; Fieasons'. " ' ` ,_ie.
""_.__""\ ,_-_ ' " _`-.'ft = '-.‘. -- ' ' ' "__'_ ; ' "
- .. t _M_ i ad is
Pririted Name and Badge # Shif‘t Supervisor's Signature _Date r .'?

{For Transition Centers. Chiet Adrninistrative Officer) >

 

 

 

 

Fteviewing Officer’s Decision: i:l Conlinement reviewed by Fleviewing Oificer Comment:

 

:E:I Ma]orlnfraction, submitted for Hearing lnvestigator, ii necessary and to Adjustment Cornrnittee _ _ _ - -_
l:l Min_or lnfraction`, submitted to Progrern Unii _ -t_ L-_.-_
. .n_.-\-. .; - __- - `. - '
' t :¢\_ z]l- `- ' :l |,\'_ L;__“`; i _,_*,_'_¢__,#“_ rll 615 }-%. ! \
_ _Prin_t Hevi__ew_ing Oftic_:er"s Name and Eladge # REViEWin§' DHi¢er'S Sigrlatl-lre l Date` ' '

_‘~‘\~‘----- . . __ v ..

 

 

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.¢. --=1..1-' .._. _-____...__... " "'_-_'"” _..-q.-_

1:] Heal"i'ng lnvestigator"s Fleview Reguired (Adult Correctional Faoi|ity Maior eeports On`ly}:

 

 

 

Print Hean'ng |nvestigator's Name and Badge lt |-iearing investigators Signature pate .

 

Procedures Applicab|e to all Hearings on investigative and Discip|inary Fteports
You have the right to appear and present a written or oral statement or explanation concerning the chargesl You may present relevant physical material such
as records or documentsl
Proc:edures Applir:able to Hearings Conducted by the Adiustment Committee on Disciplinary Heporis

You may ask that witnesses be interviewed and. ii necessary and relevant, they may be called to testify during your hearing. You may ask that witnesses be
questioned along lines you suggest You must indicate in advance of the hearing the witnesses you wish to have interviewed and specify what they could
testify to by lilling out the appropriate space on this forrn. tearing it oti, and returning it to the Adiustment Cornmiltee_ You may have staff assistance ii you are
unable to prepare a defense ¥ou may request a reasonable extension of time to prepare lor your hearing_

Check ii offender refused to sign

 

 

 

 

 

 

Giiender's Signature |D# .
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l_ 1 _ i_ ____ , __:i:ia_m'__'_ ___ __ _____ _ _ ___
_' ' l/, j l al ' ` ' .' """ _ _Ep_m_
Date Served Time Served -

" [:l | hereby agree to waive 24»hour notice of charges prior to the disciplinaryf hearing

 

 

Ditender's Signature lDir

 

' ' - : `led: 08/07/1_7__ Pa e 20 of 29 _PagelD #:20 _.__ ___
. Case. 1.17-cv 05776 Documlt_a_r_i__tc___i_i:__i___El____|:___l_____________FC_________E____________5 9 _
Offender Di_scip|inary _Fteport

T _ fRe r't: -l .
- “'YE§“°__D_- stadium CC

  

 

 
 

Date: 08!24)'15

 

 

 

Disciplinary l:i investigative Facility
offender Nama; FAIR. DARRELL ` _ ip s 1332994
Offense Information: -_\ i/V§»
. MFA;I _ E a_m. _
Observatlon Date: ~ -_ Approximafe `l'ime: 9:04 El p,m_ Location: Stateviile C.C.

Offe"se 5 : DH 504: 203. Drugs and drug paraphernalia

Observation: This Disciplinary Report is being issued during an investigation during which FAIR. DARREI_,L B32994 was
placed_in lnvestigative Status on 0')')'24!]5. On 0?/24!15 Stutevi|le C.C. Intelligence Officet W. Shevlin conducted a drug
" urin'aly:sis of FAIR using a “B MC Tox Cup" with a positive reading for OPI, The urine sample was subsequently sent to Quest
"Diagt`it_i_st_i_;`:s_Lz_tboratory i"or i`urther testing. On thc above observation date and approximate time reporting Intelligence _Oi`ficer W_

 

_S_h`eviin _{__R_I_) received test results from Quest Diagnostics Laborator_v indicating the urine sample submitted by FAIR tested __ __ _

5 ositive-'for Mor` hine. Based on the test resuits Li;_orn QucstDi_:_ignos_ti_cs I_,aborptory,,EAIR_is in violation-.of£tl?» (Dr_ug_ltind.dritg'§:;- -L.-"`
ph L:____,___»___T ___,;__._ __.-.----=,q.=,_,,_-_. . -_. ____ .- _-t . _ , ___ _ . _ . __ l

J... '_"`J=..?.' "' ' `

gp.:ti':'it:»h'ei'*ri't|ta) `-FAIR"was identified by'i_nstitutionn| Gi'ophics. End ofrcport.

witness(és}:

L`_'i Check if Offender Discipiinary Continuation F'age, DOC 031 31 is attached to describe additional facts_ observations or witnesses

 

 

 

 

 

 

 

 

 

 

 

 

 

 

       
 

     

 

 

 

 

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w_ shevin mile ,L/ 91 season esso .l_m_
Fiepcirting Employee (Print Name) Eladge # Signature Date Tin'le '
Disciglinag Action: . __
- '_ghift lite /El_?lTernporaW Confinement l:l investigative Status //qeasons: _ ; _ _
x_ , `i __ ' ' _" a _ ' ' .r--__' '“ "....`. '
"r‘ ‘-/r’.+ :_.-;‘-._-"./:¢/. /,_, /c'/_.e‘»" _/5 ¢.j-/” ,-s»-_. _e.-_-_¢_*_" Mf /j _
‘Printed Nal"ne _and`Badge it "J ‘ " ' ShiftSu.perv'__ r's_§ignetu_re~" Date_-_ _- __ -
: (For Tra.nsi ion gen ers. €h'ief Administrative Officer) ' ' -
, . . /___._r" '
- _>. . ' .' , . . _ _ . . /___s. '
/Eevrewing Offlcer s Dectsion: I:l Confinement reviewed by Hevievyng Otfic_er Comment: -
\- ‘, § - "'._ - / _ _ __e '._
" .‘ . . . . . ./ , . _ _' --
`_I_E:Majorlnf_raction,"_submitted for |_iearing lnvestigator, if necessary and to A_diustment_,Commlttee ' - _
` - J-'_ '1' ._ _ ;_';t¢___ _ _ / j ‘ _ - _ -__ _ __~_
._.i_;i'Mli'\o§_.|'nfraction,-submitted to Program__t_lgit ’ __1/ __ ~' ' '
_ - _ '-'-~ a ~ _/ _"_ , .f ,-;` " . - _-‘
f J ’ ' ".. _"‘I-.-»’.".""-’r"-?r*-_ "'“ ;- f`\‘-" _="' / c"?~"““`","f“"" _ q '("
Pr_int Re`viewing Officé'rTs l§la`_me and Eadge # Reviewin‘§TDfFicer’s Signature ' Date ` _ ` " _j._ § ' :'
.' ,` "_ ._‘» __ _ '____ ' _/-\...__________'¢-_“‘ _ ----_ -»- __ _. f __ __ __ __
' _"'-"":':r` " `." _ t ' _ -"';;M ;:'_`.-“-_..--'.':l- "::_;-'_.";.:*_1;,_-£“¢-\ _-_-`-`--_. -=::t;._mé=’a-W,' .;~:j<_-"- z:vg.--._;-“-,'i»' 'l'-'J-_- "_ : -"= ' "- -"
_ l:_§_i Heartn lnvestioe_tor's R‘evle Fi‘é`c?tnred { ourt Cerrectionath”Ttei_i y“NEé;oreepons Onl"y"}: ' -' "f ' - - ' _ / ' _;_-- ` s
t Prir:__t Heerir'ig Investigator'_st_NB_ree_atld.Bac[ge #___,_ _. , ______ _ _ __ _l_-l§a__rigg_ |_n}_r_e_stigetor_'s-Signa_t_'ure _ _ _ gate .` _r_

 

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"“:_-_/ . . , . ‘ ' ' '
Procedures App|icab|e to afl Heanngs on investigative and Drsclplinary Fleports
You have the right to appear and present a written or oral statement or explanation consenting the charges You may present relevant physical material such
as records or documents
Procedures Applicab|e to Hearings Conducted by the Adjustment Commiltee on Disciplinary Reports

You may ask that witnesses be interviewed and, if necessary and relevant, they may be called to testify during your hearing. You may ask that witnesses be
questioned along lines you suggest You must indicate in advance of the hearing the witnesses you wish to have interviewed and specify what they could
testify to by filling out the appropriate space on this form, tearing it off, and returning it to the Adjustment Committee_ You may have staff assistance if you are
una le to prepare a defense. You may request a reasonable extension of time to prepare for your hearingl

i'

 

 

 

 

 

 

 

Check if,-‘lof'fender refused to sign /'_'_-~e
_' __.-.__ _. _ // \
__ u _- _r _ _, Offeno'er‘s Srgnature _ lD# x
_i ,.\V_ . _ __ _.f __ l -'~'\_ ___ _ _`_ _____,'-_. _ " /'; / \
r _ - ' d _ - : -J_ -‘~~- .» / -_ -:.'_
Serving E_rnp|oyee (Print Name) /_ / Badge # ` , Siqnature -‘__'*.*“' ` `}
- ' "` r r ` "‘~-_ " E”a't.-`m. \`_ '_ _\

 

 

 

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t>_ _. . cv `) _ _ j _ .__`__, l `_/ n p_n___ .__H /r"

Date Servecl ' Tirne Served ""” =\ >;j
i:l l hereby agree to waive 24-hour notice of charges prior to the disciplinary hearirlg. / "\"' Q_//'l
\ ..
\_ id

Offender’s Signature lD# \_/

 

_ , . » CaSe: 1:17-Cv-05776 Document #: 1 Filed: 08/07/17 Pa e 21 of 29 PagelD #:21
STATE OF iLL|NOIS -- DEPART|VIENT OF CO RECT!ONS

 

 

 

 

 

ADJUSTNIENT COMM|TTEE
FlNAL SUMMARY REPORT
Name: FA|R, DAHFiELL lDOC Number: 532994 Flace: BLK
Hearing DatefTime: 9!‘|!2015 09:35 A|'vi Li\ring Urlit: STA-F-02-04 Drientation Stetus: NIA
incident Number: 201502515:‘2 - STA Status: Final
Date Ticket # incident Officer Location Til'n€
7r29r2015 201 502515!1 -STA SHEVL|N, W|LL|ANi M |NTEFiNAi_ AFFA|FiS 09:04 AM
Offense Vioiation Final Resuit
203 Drugs & Drug Paraphernaiia Guiity
Commen$,'?l-'STED PO$HTVE FGR OPI
Witness Type Witness lD Witness Name Witness Status

 

No Witness Fiequested

 

RECORD OF PROCEEDINGS

inmate Fair 532994 present and Di`-`l read. inmate Fair 532994 pleads not guilty and provided a written atated. inmate Fair
332994 stated in his statement he was piaced in investigation status on Juiy 24th 2015 at 3:00pm and he ticket wasn`t
written until August 24 2015 6:30pm which was 32 days end 3 112 hours over the allowed time.

BAS|S FOR DEC[SION

On 7!24!15 FU| conducted a drug urinalysis on inmate Fair B32994 witch tested positive for OP|.
information submitted by Quest Diagnostics indicates inmate Fair 532994 test was positive for Morphine.
inmate Fair B32994 identified by institutional Graphics.

The committee is satisfied that inmate Fair 332994 did in fact violate the charge cited.

DFf WAS FiEWFi|`|'l'EN TO FiEFLECT THE PF-iOPEH DATE OF 7)'24!15.

DISCIPLINAF{Y ACT|ON (Coneecutr`ve to any priors)

 

 

RECOMMENDED FiNAL
6 ivionths C Grade 6 Nionths C Grade
6 ivionths Segregation 6 Months Segregation
i-iestitution of $ 2,45 Paid to STATEV|LLE CC Ftestitution ot $ 2,45 Paid to STATEV|LLE CC
6 Nlonths Contact Visits Restriction 6 Months Contact Visits Fiestriction

Basis for Discipiine:NATUFiE OF OFFENSE

 

Signatures
Hearirig Committee

 

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eesr, cHAFtl_es F -chairr>ersen Me/A§M/ y parents Bl_l<

 

 

hignature ‘__- Date Flace
HAenls, CYNTH|A /(7(Y\/ c~_\ oeroins eu<
§`i_dnaiure 0 Date Fiace

Fiecommended Action Approved

 

Final Comments: Nrn

F\l..lrl Daie: 10»'9}2015 12:{]'2:53 Page 1 of 2

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Se' 1:17-cv-05776 ument #: 1 Fiied: 08/07/17 Page 2 29 PageLQ #:22

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l/ O}{)\L_]§z ___‘ i sosiunmeiiirorcoi=iriscnoiiis !E j L

Ofiander Discip|lnary Fleport

 

 

 

 

lmra , _ csra items
. Sl'.ite\'.'!l: Cf`
E Disciplinary I:l investigative Faciiity
` engineer name F.-uR. DARRELL io ¢_- snow
Olienae lnformaticin: n
Observa[ion Dalej l']?ii}‘-li"l§ Approxl|'nal& Tii'l‘l&.' 3."\“.1 g 32 LODaliDI'|: Sl.'.llt‘.‘\'lllr: C.C.

n : nn audi 201 D.'tigs :i!tL'. Llrui,_: paru|hcrna|i:i

Obaervation: This Dtsclpilnary Report is being issued during an investigation during which FA|R, DARRELL 832994 was
placed in lmillt|gati'ire Status on 0?/24/15. Dn 07/24/15 et Statevii|e C.C. The intelligence Unit conducted a drug
urinalysis ot FA|R using a ‘BMC Toii |:up' with a positive reading lot DPl. file urine sample was subsequently sent to Quest
D|agnosl.ics Labolatory for further testing Llporl the conclusion of Quesi: Diagnostii:s Laboratory lesting, test results were
sent back to the facility (at a later date) indicating the urine sample submitted ny FA|R tested positive for Morphine,
Basecl on the test results from Quest Dlagriostics Laboratoiy, FA|H is iri violation of 203 iDrug and drug paraphernalial.
FAlR was identiliad by institutional Graphics. Enr.i of report.

Witn ess{es):

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Fte\riowi Offi r‘ Uei:ision_' n Coniinernonl reviewed by Revleviring Dl|icer Comment:

 

eior lntraction, submitted ior Hearing investigation 'ii necessary a o Adjuslrnent Commi`tlae
I:I inor |ni'rer:tion, submili Program Uriil

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Procodures Appiicanle to all Hearingo on il\(eellgatiiro grid l:liel:ii:iilriaryr Repcrts f

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as records o' domr'tents.

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You may ash |hal witnesses ne interviewed and. i‘. necessary a'\c relevant they may be called :o testify oiqu your hearing \"ot< rr.ay ask trial witnesses be
ouest.onea along lines you sugges'_. You must indicate in advance cl the hearing li1e wlrisssea you wish to have interviewed and sceniiy what they could
lastly la l;~,r lillier oin the appropriate space on this iorrn_ tearing it olf‘ ana returning il lo l'\e enlistment Commil:ei:i. Vou may have stall assistance lt you are
unable to prepare a da|ense You may request a reasonable extension ot lime to prepare |tir your wear:ng.

 

 

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Servlng Ernp|o\ro¢ [Prlnit Nnme} ’ l

     

 

 

[Detach and Fleturn to tire Ad]tislrnent Coinmittee or Prograrl\ Uriit Frior to the Heoringl

 

Date ol' Disoip|-r\ary Paoos i=rinl attenuer name |J!

l am requesting ttial the Ad]i_rstrnenl Comr'inlea or Prograr'l Unl| corits'dar calling the following witnesses regarding loe Jiscipiinary Fleporl
cl tha above dale:

 

F'-'int Narr\e o| witness \N'i|riess badge -:r li:rs‘ Assigned Ce|i \'H|o iii iipr_i|icab-e]
iii applicanle'i

Witness can leslili.r to:

 

 

 

_'Prin: wants oi witness Witness duces or ll:r¢ Assigiieo Cail Tiiie lir acuicaolel
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Witness can testify lo:

 

Page l ot l

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/w |SDEPARTMENTOFCCIRRECTIONB _? 9 __1`{ {-)g( -'
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nder `Discip|inary Report
' Type'o'f`Regort: Date: 81"24:‘20l5
Statcvi||c CC
Xl Disciplinary l:l investigative Faci|i_ty n n 1

 

 

 

Offense |nforrnation:

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oriendername: FAIR,DARRELL`///'"_(_ lo #; 1332994
\/U“‘q§\"';\

   
       

B.l'l'l_

Observation Date; '?f24i'20]5 |E| p.m. Location: Statcvil|e C.C.

Offensels}: DR 504: 203 Dmgs a

~ Observation: This Discipli-nary Reporl is being issued during an investigation during which FAIR, DARRELL 332994 was placed
in Invesligativc Stalus on 07.-'24;’15. On 0?.-’24)']5 Stateville C.C. 'I`hc lnlelligcnce Unit conducted a drug urinalysis ot" I?AIR using a
“BMC Tox Cup" with a positive reading l"or OPl. The urine sample was subsequently sent to Qucsl Dingnostics Lal:ioratory l`or
further testin . On the above observation date and approximate time reporting lnlc|ligencc O|`|`iccr W. Shevlin (RI) received test
results l`rom Quest Dlagno ` MlechWMW|e-§dl;h`nttcdl'J'y'FAIl{ tested positive |`or Morpltine, Based on

' lite lest results l"ronl {;ltlcsl`[j'_£lgnoslics Labol'atoiy, FAIR ts in vi_tJ_l_{_llit}li. "t‘-ll‘“Z()B- rug ant| drug paraplicrna|ia). FAIR was
identified by Inslitulional Graphics End olrepoit. "

Approximate Tirne: 9:04

    

tug Pal'ap|rernalia

Witness(es}:

   

l'_`| Check if Oflender Disclplinary Continuation F'agel , is attached to describe additional facts observations or witnesses

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Fleporling Ernployee {Prlnt Name) Badge # Sigl'lattll'e Date Time j
Disciglinarv Action:
Shlft Fleview: Temporary Confinement I:I |nvestigative Status t /Beasons:
,{,' /’-";'/¢‘//_/» j " ,'/' ./_’ .': //-'.'//_"///"1`
Prlnted Narne and Baclge # Shfft Supervisor' s Signature /"" ”” Date
lFer Transition Cenlers, Chiel Administrative Offlcer)

Fteviewin Officer‘s Decision: I:I Confinement reviewed by Fteviewing Olficer Comment:

g Meior |nfraction, submitted for Hearing lnvestigator, if necessary and to Adjustment Committee

l:l l'llllnor lnfractlon, submit to Program Unit ' _ ~/ ,,- / /’/

m /é’ 919 1 »' .1 .» 1.)
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alnq lr\yesliqatdr' s Re_\riew Flequit'ed (Adult Correct".onal Facility~_Malor Fteports On|y}: _ _ / f

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P1rlnt He ring lnvestigator' s Name and Badge # Hegrlng'ln"ve§§galo?s Slgnature Date

/
\-/ Procedures Applicable to all Hea`rl@§`cn'|rllié'§tigative and Disciplinary Reports

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You may ask that witnesses be interviewed and. if necessary and relevant, they may he called to testi¢y during your hearing. You may ask that witnesses be
questioned along lines you suggest, Ycu must indicate in advance ol the hearing the witnesses you wish to have interviewed and specify what they could
testify to by filling out the appropriate space on this fonn, tearing it oll, and returning it to the Adjustment ComnT`itlee. You may have stall assistance if you are
unable to prepare a defense. You may requests reasonable extension ol time to prepare tot_your hearing, l

E_{ Check if offender refused to sign -.
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Qj’ijp[t Offender's Signature |Dll

{Detach and Fleturn to the Ad]ust£nent Commlttee or Prograrn Unit Prior to the Hearing}

 

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l am requesting that the Adjustrnent Committee or Program Unit consider calling the following witnesses regarding the Disciplinarv Fleport
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Page 1 of 1

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